Case 6:22-cv-01998-PGB-DAB Document 1 Filed 10/31/22 Page 1 of 21 PageID 1
Case 6:22-cv-01998-PGB-DAB Document 1 Filed 10/31/22 Page 2 of 21 PageID 2
Case 6:22-cv-01998-PGB-DAB Document 1 Filed 10/31/22 Page 3 of 21 PageID 3
Case 6:22-cv-01998-PGB-DAB Document 1 Filed 10/31/22 Page 4 of 21 PageID 4
Case 6:22-cv-01998-PGB-DAB Document 1 Filed 10/31/22 Page 5 of 21 PageID 5
Case 6:22-cv-01998-PGB-DAB Document 1 Filed 10/31/22 Page 6 of 21 PageID 6
Case 6:22-cv-01998-PGB-DAB Document 1 Filed 10/31/22 Page 7 of 21 PageID 7
Case 6:22-cv-01998-PGB-DAB Document 1 Filed 10/31/22 Page 8 of 21 PageID 8
Case 6:22-cv-01998-PGB-DAB Document 1 Filed 10/31/22 Page 9 of 21 PageID 9
Case 6:22-cv-01998-PGB-DAB Document 1 Filed 10/31/22 Page 10 of 21 PageID 10
Case 6:22-cv-01998-PGB-DAB Document 1 Filed 10/31/22 Page 11 of 21 PageID 11
Case 6:22-cv-01998-PGB-DAB Document 1 Filed 10/31/22 Page 12 of 21 PageID 12
Case 6:22-cv-01998-PGB-DAB Document 1 Filed 10/31/22 Page 13 of 21 PageID 13
Case 6:22-cv-01998-PGB-DAB Document 1 Filed 10/31/22 Page 14 of 21 PageID 14
Case 6:22-cv-01998-PGB-DAB Document 1 Filed 10/31/22 Page 15 of 21 PageID 15
Case 6:22-cv-01998-PGB-DAB Document 1 Filed 10/31/22 Page 16 of 21 PageID 16
Case 6:22-cv-01998-PGB-DAB Document 1 Filed 10/31/22 Page 17 of 21 PageID 17
Case 6:22-cv-01998-PGB-DAB Document 1 Filed 10/31/22 Page 18 of 21 PageID 18
Case 6:22-cv-01998-PGB-DAB Document 1 Filed 10/31/22 Page 19 of 21 PageID 19
Case 6:22-cv-01998-PGB-DAB Document 1 Filed 10/31/22 Page 20 of 21 PageID 20
Case 6:22-cv-01998-PGB-DAB Document 1 Filed 10/31/22 Page 21 of 21 PageID 21
